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                            UNITED STATES DISTRICT COURT


                                DISTRICT OF OREGON


                                 PORTLAND DIVISION




DEBRAMAIN,                                       Case No, QV 10-155 9                       ST
                                                 COMPLAINT;
               Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
      vs.                                        ACT (15 USC § 1692a, et seq.);

RECEIVABLES PERFORMANCE                          DEMAND FOR JURY TRIAL
MANAGEMENT, LLC,

               Defendant.



                                  I. INTRODUCTION


      1.       This is an action for damages brought by an individual consumer for

Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter "FDCPA").

                                  H. JURISDICTION


      2.       Plaintiffs claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a "federal question" pursuant to 28 USC § 1331.


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                                     HI. PARTIES

      3.       Plaintiff, Debra Main ("Plaintiff'), is a natural person residing in

Multnomah County, Oregon.

      4.       Defendant, Receivables Performance Management, LLC, ("Defendant") is

a corporation engaged in the business of collecting debts by use of the mails and

telephone. Defendant regularly attempts to collect debts alleged due another.

                            TV. FACTUAL ALLEGATIONS


      5.       Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. §

1692a(6).

      6.       Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

      7.       All activities of Defendant set out herein were undertaken in connection

with the collection of a "debt," as defined by 15 USC § 1692a(5).

       8.       Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

      9.       Using false representations and deceptive practices in connection with

collection of an alleged debt from Plaintiff, including garnishing Plaintiff while Plaintiff

was current on an payment arrangement, in exchange for which Defendant had agreed to

withhold enforcement of a judgment (§ 1692e(10)).

       10.      On or about February 16, 2010, Defendant filed suit against Plaintiff in

Oregon Small Claims Court for a debt allegedly originally owed to Les Schwab.


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       11.     Plaintiff received notice of the suit referenced in § 10, above, and contacted

Defendant to discuss a resolution designed to avoid garnishment.

      12.      Defendant's representative, Bonnie Baker, spoke to Plaintiff in or around

March, 2010, and agreed to withhold further legal actions to enforce the Les Schwab debt

so long as Plaintiff continued to make monthly payments of $100.

       13.     In violation of the agreement referenced in § 12, Defendant filed for a Writ

of Garnishment against Plaintiffs bank account on or about September 17,2010, despite

the fact that Plaintiff had faithfully made all payments required of the agreement

referenced in § 12 (§ 1692e(10) & 1692f).

       14.     Pursuant to the Writ of Garnishment issued served on or about September

17, 2010, on Plaintiffs bank, Defendant was required to provide Plaintiff with notice of

the Writ of Garnishment and a list of possible exemptions pursuant to ORS 18.658.

Defendant provided Plaintiff with the other documents in its notice to Plaintiff of the

garnishment, but not the list ofexemptions. (§ 1692f).

       15.     As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiffs feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       16.     Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiffs feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       17.     Defendant's misrepresentations and deceptive practices were material to


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Plaintiff, in the sense that they affected Plaintiffs ability to make intelligent choices

about the debt, including but not limited to whether or not to challenge the garnishment.

       18.     To the extent Defendant's actions, detailed in paragraphs 8-14, were carried

out by an employee of Defendant, that employee was acting within the scope ofhis or her

employment.

   COUNT I; VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       19.     Plaintiffreincorporates by reference all ofthe preceding paragraphs.

      20.      The preceding paragraphs state a primafacie case for Plaintiff and against

Defendant for violations ofthe FDCPA, §§ 1692f& 1692e(10).

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

      A.       Declaratory judgment that Defendant's conduct violated the FDCPA;

      B.       Actual damages pursuant to 15 USC 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       D.      Costs, disbursements and reasonable attorney's fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

       E.      For such other and further relief as may be just and proper.




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   PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY




                                Dated this 22nd day ofDecember, 2010.


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